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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF INDIANA
                                          INDIANAPOLIS DIVISION


      OTIS B. GRANT,

                                     Plaintiff,
                  v.                                                CASE NO. 1:13-CV-00826-TWP-DML

      THE TRUSTEES OF INDIANA UNIVERSI1Y,
      INDIANA UNIVERSITY,
      INDIANA UNIVERSITY SOUTH BEND,
      MICHAEL A. MCROBBIE,
      UNA MAE RECK,
      ALFRED J. GUILLAUME JR.,

                                     Defendants.


                                    AFFIDAVIT OF BARBARA A. LEE, PH.D.

                 I, Barbara A. Lee, state the foUowing:

                 1.      I am a competent adult and have personal knowledge of the following facts.

                 2.      Attached hereto is a true and accurate copy of my expert report. My opinions are

      expressed to a reasonable degree of certainty.

                 3.      The facts and materials relied upon in my expert report are facts and materials

      customarily relied upon by experts in my field.

                 4.      I affirm under the penalties of perjury that the foregoing statements are true.




      Dated:
                                                                Barbara A. Lec, Ph.D.
      SBDS01 402948v 1
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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION


      OTIS B. GRANT,

                                 Plaintiff,
                                                                   CASE NO. 1:13-CV-00826-TWP-DML

      THE TRUSTEES OF INDIANA UNIVERSITY,
      INDIANA UNIVERSITY,
      INDIANA UNIVERSITY SOUTH BEND,
      MICHAEL A. MCROBBIE,
      UNA MAE RECK,
      ALFRED J. GUILLAUME JR.,

                                 Defendants.


                         DEFENDANTS' FED.R.CIV.P. 26(a)(2) DISCLOSURE
                          OF OPINION WITNESS. BARBARA A. LEE. PH.D.

             Pursuant to Fed.R.Civ.P. 26(a)(2), Defendants disclose Barbara A. Lee, Ph.D. as an opinion

      witness in this case. Defendants hereby submit her expert report pursuant to Fed.R.Civ.P. 26(a)(2)

      and additional material as follows.

             A.      Opinion. Dr. Lee's opinion is set forth in her expert report at Tab 1.

              B.     Qualifications.        Dr. Lee's qualifications are set forth in her curriculum vitae at

      Appendix B to her expert report.

              C.     Retention and Compensation,             Dr. Lee is being compensated at the rate of

      $340.00 per hour for her work in this matter.

             D.      Prior Testifying Experience. See Dr. Lee's report p. 1.

             E.      Documents Consulted by Dr. Lee. See Dr. Lee's report at Appendix A.
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      Dated: September 15th, 2014

                                                      Respectfully submitted,

                                                        /s / Damon R. Leichtv
                                                      Damon R. Leichty (21708-53)
                                                      BARNES & THORNBURG LLP
                                                      700 1st Source Bank Center
                                                      100 North Michigan Street
                                                      South Bend, IN 46601-1632
                                                      Telephone: (574) 233-1171
                                                      damon.leichty@btlaw.com

                                                      Counsel for Defendants




                                        CERTIFICATE OF SERVICE

              The undersigned hereby certifies that a true and accurate copy of the foregoing was served
      through email/ECF system and/or by United States Mail, first class postage prepaid, addressed to
      the following party, this 15th day of September 2014:

                        Andrea Lynn Ciobanu, Esq.
                        CIOBANU LAW, P.C.
                        8910 Purdue Road, Suite 240
                        Indianapolis, IN 46268


                                                        /s/ Damon R. Leichty




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           Grant v. Trustees of Indiana University, Indiana University South Bend, Michael A.
                        McRobbie, Una Mae Reck, and Alfred J. Guillaume, Jr.

                                          Report of Barbara A. Lee, Ph.D.

                                                September 12, 2014


           I.      Qualifications of Expert

           I am a tenured full professor of human resource management at Rutgers University, where I
       have taught and held various administrative positions since 1982. I teach courses in higher
       education law and employment law. I have served as graduate program director, department
       chair, Dean of the School of Management and Labor Relations for six years, Associate Provost
       for the Social Sciences, and Director of the Center for Women and Work. My research and
       publications focus on faculty employment matters in higher education, and I have served as a
       member or chair of over 25 search committees during my career as a faculty member. I have
       also conducted training for faculty search committees. I hold a Ph.D. in higher education, a J.D.,
       and a B.A. and M.A. in English.

           I am the co-author (with William A. Kaplin) of The Law of Higher Education, a treatise on
       higher education law in the United States. The fifth edition of this treatise was published in July,
       2013. In addition, I have published over 90 books, chapters, and articles, most of which involve
       faculty employment matters. I have published in both social science journals and law journals,
       and have published a refereed journal article and a monograph on falsification of credentials and
       background checks. A complete listing of my publications, conference presentations, and other
       academic accomplishments is attached as Appendix B,

            Since 2010,1 have testified as an expert at trial, in an arbitration hearing, or by deposition in
       four cases: In Re: Dismissal of Professor David Hawk (2012), Thrash v. Miami University (2012),
       Mootry v. Bethune-Cookman University (2013), and Stewart v. University of Southern Mississippi et
       al. (2014).

       1 am being compensated at the rate of $340/hour for reviewing documents and preparing this report.

       A list of the documents that I have reviewed prior to preparation of this report is attached as
       Appendix A. I reserve the right to amend my report should I be provided with additional
       information.


          II.      Background

           Otis Grant holds an earned B.A. in psychology from Westfield State College (now Westfield
       State University) in Westfield, Massachusetts. He also holds an earned J.D. from the University
       of Connecticut School of Law, The fact that he earned these degrees has been verified.




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            In 1998, Mr. Grant applied for a tenure-track faculty position in criminal justice at Indiana
       University South Bend. Mr. Grant submitted a cover letter and a curriculum vitae (c.v.), and
       apparently solicited several letters of recommendation in support of his application. In addition
       to listing the B.A. in psychology and the J.D. degrees, his c.v. showed that he held a Master's of
       Arts degree in psychology from the "Gestalt Institute of Psychology." The c.v. also included the
       date of 1993 next to information that implied that Mr. Grant had completed a master's thesis for
       a graduate degree in counseling psychology at Teachers College, Columbia University. It also
       said that he had written a "disertation" [sic] while completing his "Doctor of Law" degree at the
       University of Connecticut. His cover letter stated that he was "presently working toward a
       Doctorate in Psychology" at Columbia University.

          Mr. Grant's cover letter also stated that he had served as "the law clerk to Judge Richard M.
       Wright," and that he was the founder and managing attorney for the "National Counsel on Race,
       Law and Mental Health," described as a Washington DC nonprofit law firm.

           Mr. Grant's c.v. claimed that he had received four "fellowships," two from the University of
       Connecticut School of Law, one from Columbia University, and one from the "Gestalt Institute."
       Furthermore, he claimed to have teaching experience as a "Lecturer" at Howard University, at
       Boston State College, and at "the Armed Forces Institute in London, England." In addition, he
       claimed that he had held a position as an "Instructor" at California State College, Ft. Ord. He
       also claimed to have completed an internship at "Elmsford Psychiatric Hospital" in London,
       England. In the c.v., Mr. Grant claimed that he created syllabi and gave student grades during
       his time teaching at Boston State College and the Armed Forces Institute, indicating that he had
       been employed at those institutions, teaching courses for academic credit.

            On the c.v. Mr. Grant submitted with his letter of application, in a section entitled "Teaching
       Experience," he indicated that he had taught courses such as "Introduction to Psychology" and
       "Social Problems" as a "Lecturer" at Howard University. He indicated that he had taught the
       course "Intro to Criminal Justice" as a "Lecturer" at Boston State College, and in conjunction
       with that teaching had "devised a syllabus" and "administered grades." He claimed to have
       taught the courses "Racism in Criminal Law" and "Comparative Criminal Law" as a "Lecturer"
       at the Armed Forces Institute, as well as preparing a "syllabus" and "administering grades" there.
       And he claimed to have taught "Comparative Law Enforcement" and "Alternate Dispute
       Resolution" as an "Instructor of Criminal Justice" at California State College-Fort Ord. Each of
       these courses sounds like a college-level semester- or quarter-long course for which academic
       credit and grades are awarded.

           In addition to his cover letter and c.v., Mr. Grant apparently solicited several reference letters
       to support his application. One was from "C. John Goar," who stated that he had taught Mr.
       Grant at Columbia University and Howard University and called him an "outstanding researcher,
       scholar and practitioner." Another reference letter was from "Judge Douglas B. Wright," and
       stated that Mr. Grant had been his law clerk, that he had performed well, and that his character
       was "beyond reproach." Mr. Grant was selected for the faculty position.

           Each year, faculty members at Indiana University-South Bend were required to fill out a
       "Faculty Summary Report" that discussed their teaching, research, and service activities for the
       past academic year. Administrators relied on these reports, in addition to other information, to
       make decisions about salary increases for faculty. In his report for 1999, Mr. Grant continued to

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        claim that he had a "doctorate of law," that he had written a master's thesis at Teachers College,
        and indicated that he had taken qualifying exams in adolescence and growth and development.
        In these reports, he continued to list the M.A. in Psychology from the Gestalt Institute of
        Psychology, and four Lecturer positions at California State College, Howard University, Boston
        State College, and the Armed Forces Institute in London, England. (His c.v. submitted at the
        time he was hired stated that he was an "Instructor" at California State College).

           In his 2000 Faculty Summary Report, Mr. Grant listed the M.A. in Psychology from the
       Gestalt Institute, changed the "disertation" [sic] o "Qualifying Paper" for his law degree, and
       repeated the four "Lecturer" positions at California State College, Howard University, Boston
       State College, and at the Armed Forces Institute in London, England.

           In Mr. Grant's tenure dossier, submitted in 2004, he repeated the claimed M.A. from the
       Gestalt Institute, but this time stated that the degree was in Psychoanalysis with a minor in
       Organizational Behavior. [The c.v. he submitted to support his application for employment
       stated that the M.A. degree was in Psychology with a major field in psychoanalysis and a minor
       field in psychopathology.] In the tenure dossier, none of the claimed degrees states a year of the
       awarding of the degree. Information related to his claimed graduate work at Teachers College
       was changed in that his application stated that his graduate work was in Developmental
       Psychology with a major concentration in Counseling Psychology; his tenure dossier does not
       mention Developmental Psychology, nor does it address the claimed qualifying examination
       fields. With respect to his B.A. degree, the c.v. submitted in 1998 with his employment
       application stated that his major was psychology and his minor was in criminal justice. In his
       2004 tenure dossier, the minor was listed as "Economics."

            In early 2009, press inquiries and a request for Mr. Grant's personnel information made
       under the state's open public records act persuaded Vice Chancellor Alfred Guillaume to
       investigate whether some of the credentials Mr. Grant had claimed on his c.v. and in his cover
       letter were genuine. Vice Chancellor Guillaume asked Mr. Grant to provide transcripts to verify
       the M.A. from the Gestalt Institute, the graduate work, thesis and qualifying exams at Teachers
       College, and documentation that he was "working toward" a doctoral degree. Over a three-
       month period, Vice Chancellor Guillaume attempted to persuade Mr. Grant to sign forms
       authorizing the release of his education records from Teachers College, Columbia University, the
       University of Connecticut, and the Gestalt Institute. Mr. Grant eventually signed the forms.
       After communicating with these institutions, and attempting to verify other matters on the c.v.
       that Mr. Grant presented at the time of his hiring, the Vice Chancellor concluded that Mr.
       Grant's claimed credentials were false. Vice Chancellor Guillaume notified the chair of the
       Faculty Misconduct Review Committee that he intended to recommend that Mr. Grant be
       dismissed. He also advised Mr. Grant that he would recommend Mr. Grant's dismissal.

           Mr. Grant appealed the Vice Chancellor's dismissal recommendation to the Faculty
       Misconduct Review Committee (FMRC), a group of faculty that hears appeals from faculty who
       are disciplined by the university. That committee concluded that there was not a "sufficient basis
       to merit a hearing or any other proceedings in the case." The Vice Chancellor disagreed with the
       FMRC's decision. Because the FMRC's conclusion is a recommendation and is not binding on
       the IUSB administration, Vice Chancellor Guillaume forwarded his dismissal recommendation
       to Chancellor Una Mae Reck.


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            Chancellor Reck commissioned a second investigation of Mr. Grant's claimed credentials,
        this time by a private investigative firm, which produced the "Klink Report." After receiving the
        results of the second investigation, Chancellor Reck gave Mr. Grant an opportunity to comment
        on and respond to the findings of the Klink Report. After Mr. Grant again denied that he had
        misrepresented his credentials, the University determined that there was no evidence of the
        following:

                That Mr. Grant held a M.A. degree from the "Gestaft Institute"
                That the "Gestalt Institute" had ever awarded degrees, and in fact, had ever existed in
       Liverpool as Mr. Grant had claimed
                That Mr. Grant had obtained a Master's degree from Teachers College, had written a
       master's thesis, or had taken and passed qualifying examinations
                That Mr. Grant had been enrolled in a doctoral program at either Teachers College or
       Columbia University
                That Mr. Grant had ever held the position of either Lecturer or Instructor at Howard
       University, Boston State College, California State College-Ft. Ord, or the Armed Forces Institute
                That Mr. Grant had received any of the four "fellowships" he had listed on his c.v.
                That Mr. Grant held an internship at "Elmsford Psychiatric Institute"
                That the Elmsford Psychiatric Institute existed
                That the letter purportedly written by Judge "Douglas" Wright was genuine because the
       Judge's first name was misspelled twice in the letter and Mr. Grant did not hold the primary law
       clerk position for any judge. Furthermore, Mr. Grant had stated in his cover letter that he had
       clerked for Judge Richard Wright. He later claimed that that was not the individual he clerked
       for, but that he had clerked for a Judge Richard Rittenband.
                That the letter purportedly written by "C. John Goar" was genuine because there was no
       evidence that such an individual had ever been employed by either Howard or Columbia
       Universities

              After several communications with Mr. Grant and a meeting at which he continued to
       maintain that he had done nothing wrong, Chancellor Reck determined that Mr. Grant be
       dismissed.

           According to Vice Chancellor Guillaume and Chancellor Reck, Mr. Grant either could not or
       refused to provide verification of the claims he had made in his initial application, in two Faculty
       Summary Reports, and, to a lesser extent, in his tenure dossier. He was given multiple
       opportunities to provide evidence that he had earned the degree he claimed, written the thesis he
       claimed, taken the qualifying examinations that he claimed, and received the fellowships that he
       claimed. Over a period of approximately three years, from late 2008 through the end of 2011,
       the Vice Chancellor or Chancellor contacted Mr. Grant at least 18 times, asking him to provide
       documentation for the questioned credentials.1 Each time he stated that either these materials
       were not relevant to his hiring, or that too much time had passed and it was impossible to verify
       these claimed credentials. Because Mr. Grant was unable to prove that he could verify the
       credentials he had claimed at the time of his application to Indiana University South Bend,
       Chancellor Reck determined that he be dismissed for "serious personal and professional
       misconduct."

       1   These communications are listed in Appendix A of this report.

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           Mr. Grant appealed his dismissal to the Faculty Board of Review (FBR), a committee created
       by the Academic Handbook to hear appeals "concerning academic freedom, reappointment,
       tenure, promotion, salary adjustment, and the nature or conditions of work." Chancellor Reck
       provided the rationale for her determination and the evidence resulting from the external
       investigation. In August, 2012, Mr, Grant's attorney, Andrea Ciobanu, sent an email to Davis
       O'Guinn, counsel to Indiana University, asking that representatives of Indiana University, and
       most specifically Professor Chaney (chair of the Faculty Board of Review), stop attempting to
       contact Mr. Grant concerning the scheduling of the hearing before the FBR. Therefore, it
       appears that Mr. Grant did not pursue the internal appeal before the Faculty Review Board after
       the initial grievance statement.


           III.    Academic Titles and Their Significance

           Most colleges and universities use the titles "assistant professor," "associate professor," and
       "professor" to indicate faculty who are either tenured or on the "tenure track" (a probationary
       status that may lead to tenure), Other teaching titles include "lecturer" and "instructor."

            At most four-year colleges and universities in the United States, a committee of faculty,
       typically called the "search committee" or the "hiring committee" recruits candidates for faculty
       positions, reviews documents submitted by candidates, and recommends one or more individuals
       for the position or positions in question. Search committees tend to value a candidate's prior
       experience, particularly if that experience includes teaching, because teaching is a central
       responsibility of most college faculty. If a candidate for a faculty position indicates that he or
       she has been employed as a "Lecturer" or an "Instructor," that signals to the search committee
       that the individual has teaching experience and should be able to have teaching responsibilities
       immediately after being hired.

           Occasionally a candidate will list on a c.v. "guest lectures" or workshops that he or she has
       given on a college campus, but under these circumstances, the convention in academe is not to
       characterize the individual as a "Lecturer" or an "Instructor." A guest lecture is just that—a one-
       time event as a guest in a faculty member's class, A workshop may be given on campus, but it is
       typically not for academic credit, and the workshop leader would not be called a "Lecturer" or an
       "Instructor," but a workshop leader. Merely giving a lecture or a workshop on a college campus
       does not make that individual a "Lecturer" who is an employee of that college.

           The wording of Mr. Grant's c.v. at the time of his hiring, and also when he submitted his
       1999 and 2000 Faculty Summary Reports, was false and inaccurate. Claiming to be a "Lecturer"
       at three (and later four) academic institutions suggested that he was an experienced college-level
       teacher, and clearly would have made him a more desirable candidate than others who had not
       had employment as a "Lecturer" or an "Instructor." And, of course, Mr. Grant did not have such
       experience either.

           The Indiana University Academic Handbook lists the title "Lecturer" as a non tenure-track
       faculty appointment (Academic Handbook, Section 2.2.2), The Handbook states that "Lecturers
       may be assigned responsibility for teaching, and for research and service that supports teaching,
       in courses for which such assignments have been approved by the faculty of the academic unit.

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     The Lecturer category is the appropriate classification for non-tenure-track teaching faculty in
     instances where the unit has a continuing need for the resource." The fact that the University
     uses this title for employees who teach suggests that faculty on the search committee would have
     believed that Mr. Grant had served in such a position at three (and later four) academic
     institutions—which made him a more attractive candidate because of his alleged college-level
     teaching experience.

         The Indiana University South Bend Academic Handbook states that Instructors and Lecturers
     who are full-time faculty members have the right to vote in the Academic Senate (Article I.
     Membership). Being granted voting privileges in the Academic Senate symbolizes that people
     who hold these titles are considered legitimate members of the faculty. The search committee, in
     my opinion, would have preferred Mr. Grant's candidacy over that of other candidates who had
     not been employed as Lecturers or Instructors. Of course, Mr. Grant had not been so employed
     either; he stated in writing that he had not been an employee of any of these institutions.

         Howard University uses the title "Lecturer" to connote an employee whose primary
     responsibility is teaching. The appointment is nontenured, is for one year or one semester, and is
     renewable (1993 Howard University Faculty Handbook, Section 2,4.2.8). Mr. Grant stated that
     his "lectures" on the Howard University campus were for 2-3 days to individuals who do not
     appear to be students at Howard University.2

          Boston State College merged with the University of Massachusetts at Boston in 1982.3 Mr.
     Grant claims to have been a "Lecturer" at Boston State College in 1984-85 (c.v. submitted with
     letter of application in 1998; 1999 Faculty Summary Report for Otis Grant). Boston State
     College was no longer in existence during the years that Mr, Grant claimed to have been a
     Lecturer there. Furthermore, there is no Lecturer title at the University of Massachusetts at
     Boston: faculty titles are Instructor, Assistant Professor, Associate Professor, and Professor.4
     Mr. Grant stated in his deposition that he had taught on the campus of "Boston State College" for
     a contractor but he had not been employed by that institution.

         I could not locate a "California State College-Fort Ord" on the Internet. However, there is a
     California State University at Monterey Bay that has developed an alumni association for
     individuals from Fort Ord. California State University at Monterey Bay is located on the
     grounds of the former Fort Ord. That University has a Lecturer title for a non tenure-track
     employee who is appointed for a semester or an academic year, and in some cases for a three-
     year contract.5 Mr. Grant stated that he had taught 2-3 day workshops to non-students at that
     institution.6

         I could not find any information on the Armed Forces Institute in London, UK.




     2 Letter to Alfred Guillaume from Otis Grant, 12/15/08.
     3 www.umb.edu/the_university/history.
     4 Academic Personnel Policy of the University of Massachusetts at Amherst, Boston, and Worcester,

     www.fsu.umb.edu/sites/umb-fsu.uwsclient.com/files/redbook.pdf.
     5 California State University Monterey Bay, Academic Personnel Policies, Procedures, and Guidelines,

     http://ap.csurnb.edu/policies-procedures-guidelines-0,
     6 Letter to Alfred Guillaume from Otis Grant, 12/15/08.



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          IV.     The University's Reliance on Honesty and Accuracy in Academic Credentials

            Colleges and universities rely on their reputation and public image to attract students, faculty,
      and financial support. Because a college or university is licensed by the state to award degrees,
      the public has the right to expect that the faculty who train students at the institution have earned
      the degrees that they claim. Revealing that a professor has committed resume fraud and has not
      earned the degrees he has claimed tarnishes the institution's public image and makes it
      potentially subject to increased scrutiny by accrediting agencies, government bodies, and
      professional associations. In fact, a program or institution may jeopardize its accreditation status
      if it employs full-time faculty members who have not earned the degrees that they claim. Loss of
      an institution's accreditation may result in the loss of all federal funding, including federal
      student financial aid funds.7 Reputational scandals can take a decade or more to overcome, A
      recent example is the loss in revenues and student enrollment declines faced by Pennsylvania
      State University following the Sandusky sex abuse revelations.8

         At Indiana University, faculty are subject to the Code of Academic Ethics. Section 1.2 of the
     Academic Handbook of Indiana University states that faculty are subject to discipline for
     "personal misconduct," which includes "Dishonest conduct including, but not limited to, false
     accusation of misconduct, forgery, alteration or misuse of any university document, record or
     identification; and giving to a university official information known to be false." The Code
     makes it clear that resume fraud is a violation that subjects the individual to discipline.

         There have been many examples of faculty members and athletics coaches at U.S. colleges
     and universities who have committed academic fraud by claiming degrees or other credentials
     that they had not earned. For example, a professor in California who was named the state's poet
     laureate claimed to have a college degree, but had not earned one and was forced to retire.9 A
     football coach hired by the University of Notre Dame claimed to have a master's degree that he
     had not earned and was forced out.10 A popular professor who had taught for four years at
     Pennsylvania State University was found to have committed murder as a teenager and to have
     earned his college degree in prison.11 He was forced to resign. The President of the American
     Academy of Arts and Sciences was forced to resign after an investigation revealed that she did
     not hold the doctorate she had claimed in grant proposals and other documents.12 And Marilee




     7 William A. Kaplin and Barbara A. Lee. The Law of Higher Education, 5lh ed. Jossey-Bass Publishers, 2013,

     Sections 15.3.1 and 15.3.3.
     8 For example, the year following the child sex abuse scandal involving Penn State football, athletic revenues

     declined by seven percent. hftp.7/espn.go.com/collego-f'ootbaH/storv/ /id/9161199/penn-state-revenue-decline-
     traced-renewals. Applications for admission declined by thirteen percent the year after the scandal broke.
     http://www.ruffalocody.com/2013/01/penn-state-applications-decline-in-wake-of-sandusky-scandel/
     9 Robin Wilson, Fali From Grace, CHRON. HIGHER BDUC., Apr. 4, 2003, at A10.
     10 Welch Suggs, "Lessons Unlearned," CHRON. HIGHER EDUC., luly 5, 2002, at A37.

     " Scott Smallwood, The Price of Murder, CHRON. HIGHER EDUC., Sept. 12, 2003, at A8.
     12 Nick DeSantis, "Head of American Academy of Arts and Sciences Quits after Resume Controversy," CHRON.

     HIGHER EDUC,, July 25, 2013.

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      Jones, a nationally-prominent dean of admissions at MIT, was forced to resign after it was
      discovered that she had not earned the degrees that she claimed.13

          Resume fraud is not limited to faculty, however. The former CEO of Yahoo was forced to
      step down after the company learned that he had not earned a degree that he had claimed on his
      resume.14 Other CEOs have also been dismissed or forced to resign when resume fraud is
      discovered.15 In the business world, as well as in academe, discovery of resume fraud virtually
      always leads to dismissal.16



          V.        A Search Committee's Reliance on Academic Credentials

           Search committees recruiting candidates for tenure-track faculty positions rely on the
      materials submitted by the candidate, their own knowledge of the discipline, and the general
      understandings concerning the meaning of certain language on a c.v. or in a letter of reference.
      For example, faculty titles, discussed above, have specific meanings in academe. In this case,
      Mr. Grant provided fraudulent information about at least one academic graduate degree, previous
      faculty titles that he did not hold, fellowships that he was not awarded, at least one internship
      that he did not hold, and reference letters that appear to be either forged or untruthful. Each of
      these misrepresentations is a form of academic fraud, and each appears to be calculated to
      enhance his chances of being hired for the full-time tenure track position that he began in 1999.
      It is not surprising that the search committee relied on these representations because they made
      Mr. Grant appear to be a stronger candidate for the full-time faculty position than he otherwise
      would have been without the addition of the fraudulent credentials.

          It appears from the materials that I reviewed that Mr. Grant met the requirements for the
      assistant professor position for which he applied because he had an earned J.D. from the
      University of Connecticut. But embellishing his c.v. by claiming to have an earned M.A. from
      the "Gestalt Institute," to have allegedly completed a master's thesis and qualifying examinations
      at Teachers College, and to be allegedly "working toward" a doctoral degree at Columbia
      University very likely set him apart from other applicants who did not claim these additional
      academic qualifications.

         Having the additional master's degree in psychology, as Mr. Grant claimed to have earned,
      would have made him a more versatile teacher because he could bring the additional knowledge


      13 Maureen Mackey, "Ex-Yahoo CEO Scott Thompson and Seven Other Cases of Resume Fraud," Fiscal Times,

      May 15, 2012, available at http://www.hutTingtonpost.coni/2012/05/1 S/vahoo-eeo-scott-thom»sons-resume-
      fraud n 1516061 .html.
      14Id.
      15 Id. Other executives dismissed for claiming college degrees they had not earned include David Edmondson,

      former CEO of RadioShack, and Ronald Zarrella, former CEO of Bausch & Lomb, who not only was forced out but
      was required to return a $1.1 million bonus when it was discovered that he had not earned the MBA he had claimed
      on his resume for ten years.
      16 "People who commit resume fraud almost always find themselves back in the unemployment statistics. It doesn't

      matter if you are not yet hired, newly hired, or a long term employee, when resume fraud is uncovered this is a
      serious offense and most organizations are likely bound to fire employees who have committed this wrongdoing."
      Leah Goessel, "How Resume Fraud Can Hurt Your Career," Career Path 360", September 28, 2009, available at
      http://www.careerpath360.com/index.php/how-resume-fraud-can-hurt-your-career-14362/.

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     beyond that gained in law school to his teaching about criminal justice. In 1990, Mr. Grant
     applied for a Law Enforcement Instructor Certificate. The application asked him to list "all
     colleges and universities attended." Although Mr. Grant listed his degrees from New Mexico
     Military Institute and Westfield State College, he did not list the 1985 M.A. in psychology from
     the Gestalt Institute. The omission is strange, because the application asked him to list all
     colleges and universities attended, and degrees earned, yet he did not list the M.A. from the
     Gestalt Institute—a graduate degree that was clearly superior to the undergraduate courses and
     degrees that he did list on the application. This is particularly interesting in that Mr. Grant
     indicated on this application that he had expertise in "human behavior," "abnormal behavior,"
     "crisis intervention," and "mental retardation," among other areas of expertise. One would think
     that earning the M.A. in psychology and listing it on the application form would have made him
     better qualified in the areas of expertise he claimed to have, but he did not list that very relevant
     degree that he had allegedly earned five years earlier. The application has a section that
     indicates whether the certifying entity has "reviewed and verified" the credentials claimed by the
     applicant. The "yes" box is checked. It is likely that Mr. Grant did not list his "M.A. in
     Psychology from the Gestalt Institute" because the certifying entity would not have been able to
     verify that credential.

         The claim in Mr. Grant's application cover letter that he was "presently working toward" a
     doctoral degree at Columbia University would also have impressed the search committee. Being
     an advanced doctoral student would also indicate that he had been trained in social science
     research skills that he would not have learned as a law student. Had Mr. Grant actually earned
     these degrees, he would have brought prestige to the department and to the university.

         The nature and competitiveness of fellowships differ from one institution to the next, but,
     given that Mr. Grant listed four named fellowships on the c.v. he presented to the search
     committee at the time he was hired, the committee was entitled to believe that these were
     prestigious awards of funding from the universities he attended that were awarded after a
     competitive selection process. Foundations also award fellowships; the MacArthur Foundation
     awards fellowships to individuals who have shown "extraordinary originality."17 Being awarded
     a fellowship by an institution of higher education indicates that the "fellow" has competed with
     other candidates and has been selected because of his or her excellent qualifications. Mr. Grant
     has admitted that these "fellowships" were actually financial aid, not fellowships. They should
     have been listed as scholarships, and the source of those scholarships should have been listed.

          Internships are also desirable evidence of relevant work experience and training, Mr. Grant
     listed several internships on the c.v. he submitted at the time he was hired. At least one of the
     "internships" listed an internship site that apparently does not exist.18 Again, the search
     committee could be expected to have been impressed that Mr. Grant had work experience at a
     psychiatric hospital in London, It appears that this is not true.

        Letters of reference submitted by candidates for a faculty position are important to the search
     committee because they indicate the quality of the candidate's prior work or educational
     17 http://www.nmcfound.org/progranis/fellovvs/strntegv/. These fellowships are known colloquially as the "genius

     awards."
     18 In Mr. Grant's response to the Klink Report of 4/20/11, he admits that "Elmsford Hospital" was a temporary

     military field hospital set up for a short-term training exercise. It was not a regular hospital and he was not an
     "intern."

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             experiences and any special talents the candidate may bring to the position. Two of the letters of
             reference received by the search committee—those sent by "Judge Douglas Wright" and "C.
             JohnGoar" were especially detailed concerning the quality of Mr. Grant's intellect aild the work
             he had allegedly done for these individuals. The letters axe strong and specific, suggesting that
             these individuals had worked closely with Mr, Grant. It would be understandable if these letters
             had, in addition to the fraudulent credentials claimed by Mr. Grant, convinced the search
             committee that Mr. Grant was the candidate to hire. It appears that these letters are either
             forgeries or untruthful.


             Conclusions
                 The University gave Mr. Grant numerous opportunities to demonstrate that the
         Credentials in question were earned and legitimate. He continued to maintain that the
         information on his c.v. was accurate and, for the most part, did not cooperate with the
         administrators' attempts to ascertain whether the credentials at issue were legitimate. In my
         opinion, the University went well beyond what was required by the Academic Handbook to give
         Mr. Grant every opportunity to demonstrate that he had acted in good faith when he submitted
         the c.v. and cover letter in 1998, and continued to misrepresent many of his alleged credentials
         through the review in 2004 that resulted in his being awarded tenure. Furthermore, IUSB
         administrators could have filed criminal charges against Mr. Grant under Indiana law, but
         apparently chose not to do so.19
                 The actions taken by Vice Chancellor Guillaume arid Chancellor Reck were reasonable
         and appropriate. They are charged with upholding the Indiana University Code of Academic
         Ethics. Their conclusion that Mr. Grant's credentials were fraudulent led to an appropriate
         decision to dismiss him. Particularly because Indiana University South Bend is publicly funded,
         the taxpayers of Indiana have the right to expect faculty who are employed at these institutions to
         follow the rales and act with honesty. The Indiana universities, and those charged with leading
         them, have the rights and the responsibility, to review academic credentials that may have been
         procured by fraud and then used to obtain a faculty position that the faculty member might
         otherwise not have obtained. Vice Chancellor Guillaume and Chancellor Reck rightly considered
         the evidence, concluded that the credentials at issue were not genuine, and determined the
         appropriate action for the University.




                   Barbara A. Lee                                                                  Date




         19Indiana Code 35-43-5 states that a person commits an illegal "deception" when a person "knowingly or
         intentionally makes a false or misleading written statement wilh intent to obtain property, employment, or an
         educational opportunity."

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                                                Appendix A




                                   Documents Reviewed for this Report


      8/19/13       Complaint

      10/18/90      Otis Grant Application for Law Enforcement Instructor Certification, Connecticut

      10/27/98      Application letter from Otis Grant to Professor Kristen Gronbjerg with curriculum
      vitae

     4/21/99      Letter to William Hojnacki from C. John Goar stating that Goar had taught Grant
     at Columbia University and had known Grant for 20 years

      5/15/99       Letter to William Hojnacki from Douglas B. Wright, stating that Grant was his
      law clerk

                    1999 Faculty Summary Report for Otis Grant

                    2000 Faculty Summary Report for Otis Grant

                    Otis Grant courses taught Fall 2004

                    Otis Grant courses taught 1999-2004

     2004           Otis Grant tenure dossier

     3/24/05        Letter from A. Guillaume to U.M. Reck recommending that Grant be awarded
     tenure. Split votes at department and school level (but positive), system-wide dean
     recommended denying tenure. Positive tenure votes in College of Liberal Arts and Sciences, so
     his tenure home should be there.

                    Otis Grant courses taught 2005-2006

                    Otis Grant courses taught 2007-2010

     3/19/08       Email correspondence between A. Guillaume and Catheylene Black, University
     of Connecticut, re: Grant's receipt of fellowships as claimed on his c.v.

     October 2008 Correspondence between A. Guillaume and Alan Brinkley, Provost, Columbia
     University re: employment status of C, John Goar

     7/31/08         Letter to Otis Grant from Dean Lynn Williams re: "abrogation of university
     responsibilities and delegation of teaching responsibilities to someone not employed by the

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      university." Also "arbitrary dismissal of students from class" and cancellation of class, alleged
      retaliatory grading of students who complained. Sanctions imposed.

      12/15/08       Correspondence from Otis Grant to A. Guillaume re: "background clarification"

      1/5/09         Letter from Grant responding to sanctions letter from Dean Williams

     1/6/09         Letter from A. Guillaume to Otis Grant following up on December 15, 2008 letter
     and requesting documentation of representations on c.v. submitted at time of hiring, as well as
     consent to contact various institutions where Grant claimed to have earned degrees or be enrolled

     1/20/09         Grant response to Guillaume letter of 1/6/09; says the J.D. was the only degree
     required for his faculty position. States that he received the M.A. from the Gestalt Institute,
     Liverpool, UK. Did "work" at Teachers College; transcript unavailable because of a financial
     aid hold. Does not have a copy of his master's thesis. C. John Goar is deceased. Judge Richard
     Wright should have been stated as Judge Richard Rittenband.

     2/2/09           Letter from A. Guillaume to O. Grant again requesting "for a third time" that he
     sign authorizations to release educational records of the degrees he claimed to have earned on his
     initial c.v. used for hiring.

     n.d.            Otis Grant response to Guillaume letter of 2/2/09. Responds to Guillaume
     questions about thesis, Gestalt Institute M.A., and Columbia University, States that Guillaume is
     demanding that Grant waive his FERPA rights. States that transcript from Teachers College is
     evidence that he was enrolled in master's program; no claim to have been enrolled in a PhD
     program at Columbia University, Enclosed signed releases for academic transcript only to
     Gestalt Institute, Teachers College, and the University of Connecticut.

     2/11/09       Letter from A. Guillaume to Otis Grant. Documents hand delivered to A.
     Guillaume on 2/9/09 did not comply with request.

     March 2009 Notes from A. Guillaume memorializing conversations with representatives of the
     University of Connecticut and Columbia University re: representations on Mr, Grant's c.v.

     3/23/09       Report from John Mcintosh concerning attempts to verify Grant's M.A. degree
     from the Gestalt Institute

     3/24/09       Email correspondence from A. Guillaume to Diana Maul, registrar, Teachers
     College, concerning enrollment and degree status of Grant

     9/8/09          Letter to Professors Steven Gerencser and Jennifer Klein, Co-chairs, Faculty
     Misconduct Review Committee, from Alfred Guillaume re: basis for dismissal recommendation
     (with exhibits)

     10/6/09      Letter to Professors Steven Gerencser and Jennifer Klein, Co-chairs, Faculty
     Misconduct Review Committee, from Otis Grant, responding to Guillaume letter of 9/8/09


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     11/4/09        Letter to Vice Chancellor Alfred Guillaume from co-chairs Steven Gerencser and
     Jennifer Klein, transmitting report of Faculty Misconduct Review Committee, with Committee
     report

     5/10/10        Letter from A. Guillaume to Chancellor Reck recommending dismissal of Otis
     Grant

     7/26/10      Letter from Chancellor Una Mae Reck to Otis Grant, transmitting Vice
     Chancellor Guillaume's dismissal recommendation and exhibits, suggesting that she and Grant
     meet

     9/1/10          Notes from meeting between Chancellor Una Mae Reck and Otis Grant taken by
     Associate Vice Chancellor John Mcintosh. Grant denies all allegations. Reck informs him that
     she will retain outside consultant to investigate the allegations by Guillaume, asks him to sign
     release permitting consultant to access his credentials

     9/10/10         Letter from Chancellor Reck to Otis Grant looking forward to his response to the
     Guillaume dismissal recommendation; advising that she is engaging Klink & Co. to conduct the
     investigation; asking Grant to sign the consent form.

     10/20/10       Letter from Otis Grant to Chancellor Reck responding to "Consent and
     Authorization for Background Check," stating that FMRC decided in his favor, no discussion
     during 9/1/10 meeting of the charges against him or need for additional consent forms.

     10/26/10       Email from Chancellor Reck to Otis Grant, attaching letter. He has refused to
     sign FERPA waiver so Clink investigation will proceed without information from academic
     institutions. FMRC is advisory; reviews Academic Handbook provisions.

     2/21/11        Klink Report

     3/8/11         Chancellor Reck letter to Otis Grant, transmitting a copy of the Klink Report.
     Invites Mr. Grant to respond to the report by 4/4/11. After that time she will be making a final
     determination as to his dismissal.

     4/15/11        Otis Grant email to Chancellor Reck requesting additional time to respond

     4/18/11        Chancellor Reck email to Otis Grant, approving extension of deadline for
     response to Klink Report

     4/21/11        Otis Grant email to Chancellor Reck; response to Klink Report will be delivered
     on April 25, 2011

     4/25/11        Otis Grant response to Klink Report




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     5/23/11        Letter from Chancellor Reck to Otis Grant; has reviewed his response and all
     materials, would like to meet with him one more time before making dismissal decision

     7/6/11        Letter from Chancellor Reck to Otis Grant, again transmitting letter of 5/23/11
     because she cannot establish whether or not he received that letter. Asks him to schedule a
     meeting with her before she makes dismissal decision

     7/15/11      Letter from Otis Grant to Chancellor Reck; denies all charges, will not resign.
     Why should he bring counsel to meeting? What does resolution "short of dismissal" mean?

     7/20/11         Email from Chancellor Reck to Otis Grant, Is interested in exploring all options
     to resolve situation, including dismissal. He is free to bring counsel or not to bring counsel.
     Please advise on when he can meet with her.

     8/11/11         Email from Chancellor Reck to Otis Grant, Please let me know by Monday,
     August 15, 2011 when you will be available to meet with her. If she issues dismissal letter, that
     will be available under Indiana open public records law.

     8/15/11         Letter from Otis Grant to Chancellor Reck stating that the FMRC has ruled in his
     favor, her decision is only a recommendation, and he has levels of appeals and reviews beyond
     her.

     8/30/11       Letter from Otis Grant to Chancellor Reck; is a victim of media portrayals,
     demands that Chancellor Reck remove posting from Internet immediately and issue a retraction

     9/8/11        Email from Chancellor Reck to Otis Grant; is not aware of postings, please advise
     what posting you are referring to

     9/13/11        Letter from Una Mae Reck terminating Otis Grant effective 12/31/11

     9/14/11        Letter from Otis Grant to Chancellor Reck; will appeal her dismissal letter.

     9/26/11        Letter from Chancellor Reck to Otis Grant; advises him of appeal process to
     Faculty Board of Review. He must submit written request, and should do so shortly so that
     appeal can be heard before effective date of dismissal

     9/26/11          Email from Chancellor Reck to Otis Grant; she is still unaware of what posting he
     is referring to and he has not advised her. If he is referring to media stories in the South Bend
     Tribune, she cannot remove them from the Internet

     12/1/11         Letter from Otis Grant to Faculty Board of Review, appealing Chancellor Reek's
     dismissal recommendation and providing his views on that recommendation. Handwritten note
     on letter by Joseph Chaney indicates that he received the grievance on 12/19/11




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      12/22/11       Letter from Chancellor Reck to Otis Grant; has received his letter stating that he
      cannot be terminated. He may file an appeal with the Faculty Board of Review but has not done
      so, so any appeal will be a post-termination appeal, and dismissal will occur as stated on
      12/31/11.

      1/11/12       Letter to Chancellor Reck from Joseph Chaney on behalf of the Faculty Board of
      Review with several questions concerning both the process used to reach her dismissal
      recommendation and also the nature of the evidence of misconduct by Mr. Grant.

      1/24/12        Letter from Una Mae Reck to Faculty Board of Review re: procedural issues

      2/1/12          Letter from Una Mae Reck to Faculty Board of Review re: substantive issues
      related to Otis Grant grievance

      8/28/12        Email from Andrea Ciobanu to Davis O'Guinn, asking that there be no further
      contact from anyone at Indiana University with Mr. Grant (effectively halting the grievance
      process before the Faculty Board of Review)

      8/29/12        Email correspondence between Andrea Ciobanu and Joseph Chaney, requesting
      that Mr, Grant state whether he wishes a hearing, wishes to withdraw his grievance, or wishes
      the FBR to proceed without a hearing

     8/26/14         Deposition of Otis Grant Parts I and II

     Indiana Code 35-43-5 Forgery, Fraud, and Other Deceptions

     Indiana University Academic Handbook

     Indiana University South Bend Academic Handbook




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                                      Appendix B




                           Curriculum Vitae for Barbara A. Lee




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                                          BARBARA A. LEE


     School of Management and Labor Relations
     Rutgers University
     94 Rockafeller Road
     Piscataway, NJ 08854-8054
     (848) 445-1350; (732) 445-2830 (fax)
     email: lee@SMLR.rutgers.edu

     Earned Degrees

     Ph.D., The Ohio State University, 1977-Higher Education Administration. Graduate Research
            Assistant. Ramseyer Award for top higher education administration graduate student

     J.D., cum laude, Georgetown University Law Center, 1982. John F. Kennedy Labor Law Award

     M.A., The Ohio State University, 1972—English. Teaching assistantship

     B.A., summa cum laude, The University of Vermont, 1971—English (with departmental honors)
            and French. Phi Beta Kappa, 1970. Corse Fellowship for graduate study, 1971


     Professional Experience

     1994-present Professor, Department of Human Resource Management, School of Management
                         and Labor Relations, Rutgers University. Director, Graduate Program
                         (1987-1995)

     2000-2006     Dean, School of Management and Labor Relations, Rutgers University

     1997-2002     Director, Center for Women and Work, SMLR, Rutgers University

     1997-2000     Chair, Department of Human Resource Management, School of Management and
     2014-         Labor Relations, Rutgers University

     Spring 1997   Acting Dean, School of Management and Labor Relations, Rutgers University

     1995-1996     Associate Provost for Academic Affairs, Rutgers University

     1988-1994     Associate Professor, Department of Human Resource Management, School of
                          Management and Labor Relations, Rutgers University.

     1984-1988     Assistant Professor, Department of Industrial Relations and Human Resources,
                          School of Management and Labor Relations, Rutgers University.
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                                            BARBARA A. LEE


      Professional Experience (continued)

      1982-1984    Assistant Professor, Department of Educational Administration, Supervision, and
                           Adult Education, Graduate School of Education, Rutgers University.

      1980-1982    Director, Data Trends Analysis, The Carnegie Foundation for the Advancement of
                           Teaching.

      1978-1980    Policy Analyst, Office of Postsecondary Education, U.S. Department of
                           Education.

      1977-1978    Legal Researcher and Editor, Comptroller of the Currency, Washington, D.C.

     1976-1977     Assistant to the Dean, College of Education, Ohio State University.

     1975-1976     Graduate Assistant, University Council for Educational Administration,
                          Columbus, Ohio.

     1974-1975     Instructor, Franklin University, Columbus, Ohio.


     Honors and Awards

             Alice Paul Equality Award from the Alice Paul Institute for my work on behalf of women
     in the workforce, 2011.

            Elected to membership in the American Law Institute, 2010.

            William A. Kaplin Award for Excellence in Higher Education Law and Policy
     Scholarship, Stetson University College of Law, 2010.

            Daniel Gorenstein Award, 2009, Rutgers University, in recognition of excellence in
     scholarship and service to Rutgers University over a sustained period of time.

           Fellow, National Association of College & University Attorneys, 1995, in recognition of
     my scholarship in higher education law.

            University of Vermont, Award from Legal Issues in Higher Education Conference, which
     recognizes "outstanding professional achievement and contributions to the fields of higher
     education and the law," 2003.



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                                         BARBARA A. LEE


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     Higher Education, 5th Ed., Student Version. Washington, DC: National Association of College
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                                          BARBARA A. LEE


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            G. R, LaNoue and B.A. Lee. Academics in Court: The Consequences of Faculty
     Discrimination Litigation. (Ann Arbor: University of Michigan Press, 1987).
            S. G. Olswang and B. A. Lee. Faculty Freedoms and Institutional Accountability:
     Interactions and Conflicts. ASHE-ERIC Higher Education Research Report No. 5.
     (Washington, DC: Association for the Study of Higher Education, 1984).

            R. M. Hendrickson and B. A. Lee. Academic Employment and Retrenchment: Judicial
     Implications and Administrative Action. ASHE-ERIC Higher Education Research Report No. 8.
     (Washington, D.C.: Association for the Study of Higher Education, 1983).

            B. A. Lee. Collective Bargaining in Four-Year Colleges: Impact on Institutional
     Practice. AAIIE-ERIC Higher Education Research Report No. 5 (Washington, D.C.: American
     Association of Higher Education, 1978).




     Articles in Refereed Journals

           B.A. Lee. "Dealing with Students with Psychiatric Disorders on Campus: Legal
     Compliance and Prevention Strategies." Journal of College & University Law, in press.

            B.A. Lee and M.R. Davies. "No More 'Business as Usual' in Higher Education:
     Implications for U.S. and U.K. Faculty." Journal of College & University Law, in press.

           B.A. Lee. "Student-Faculty Academic Conflicts: Emerging Legal Theories and Judicial
     Review." Mississippi Law Journal, vol. 83 (4), 2014, pp. 837-861.

            B.A. Lee. "Judicial Review of Student Challenges to Academic Misconduct Sanctions."
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     on Law and Higher Education, February, 2004, Clearwater Beach, FL.


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      Papers Presented at Scholarly Meetings (continued)

             "Law and Policy Update for Academic Provosts, Deans, and Department Chairs,"
      Presentation at the 24th Annual National Conference on Law and Higher Education, February,
      2003, Clearwater Beach, FL.

             "Foundations of Higher Education Law" (with W. A. Kaplin and G. Pavela).
      Presentation at the 24th Annual National Conference on Law and Higher Education, February
      2003, Clearwater Beach, FL.

            "Instituting Gender," Presentation to the Women Faculty Forum, Yale University, New
      Haven, CT, March 2002.

            "Law and Policy Update for Academic Administrators," Presentation at the 23rd Annual
     National Conference on Law and Higher Education, February 2002, Clearwater Beach, FL.

            "Basic Principles of Higher Education Law" (with W. A. Kaplin and S. Olswang).
     Presentation at the 23rd Annual National Conference on Law and Higher Education, February
     2002, Clearwater Beach, FL.

            "Legal Update for Academic Affairs Administrators," Presentation at the 22nd Annual
     National Conference on Law and Higher Education, February 2001, Clearwater Beach, FL.

             "A Comparison of the ADA and the New Jersey Law Against Discrimination."
     Presentation to the conference on "The ADA and Employment Discrimination," sponsored by
     Institute for Continuing Legal Education, Rutgers-Camden Law School, and the NJ State Bar
     Association, Labor and Employment Law Section, October 1999.

            "Complying with the ADA: Progress, Problems, and Practical Advice." Presentation to
     the Annual Conference of the Society for Industrial Organizational Psychology, Atlanta, April
     1999.

            "Arbitration of Faculty Statutory Employment Claims: Lessons from the Corporate
     Sector." Presented at the Annual Conference of the National Center for the Study of Collective
     Bargaining in Higher Education and the Professions, New York, April 1999.

            "Overview of Sexual Harassment Law." Presentation to the conference on Mediating
     and Arbitrating Sexual Harassment Cases, sponsored by Institute for Continuing Legal
     Education, February 1999.

            "Instructional and Academic Activities: Trends in Tort Liability." Paper presented at the
     Twentieth Annual National Law and Higher Education Conference, Stetson University College
     of Law, Clearwater Beach, FL, February 1999.
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     Papers Presented at Scholarly Meetings (continued)

            "The Implications of ADA Litigation for Employers: A Review of Federal Appellate
     Court Decisions." Paper presented at the Twentieth Annual National Law and Higher Education
     Conference, Stetson University College of Law, Clearwater Beach, FL, February 1999.

            "Sexual Harassment/Employment Discrimination Law in New Jersey." Presentation to
     the conference on Sexual Harassment and Employment Discrimination, sponsored by Institute
     for Continuing Legal Education and Rutgers-Camden School of Law, New Brunswick, NJ,
     October 1998.

            "Who Shall Be Accommodated: The Human Resource Management Professional's
     Perspective," Paper presented at the annual conference of the Academy of Management, San
     Diego, August 1998.

            "Reducing the Consequences of Disability: Policies to Reduce Discrimination."
     Presentation at the annual conference of the Industrial Relations Research Association, Chicago,
     January 1998 (with R. Thompson).

            "Ensuring Fitness and Record Keeping," Presentation to the Joint Conference on
     Disability Issues, sponsored by the American Bar Association, Association of American Law
     Schools, and Law School Admission Council, Washington, DC, November 1997.

            "The ADA and Employment." Presentation at the conference on Legal Issues in Higher
     Education, Burlington, VT, October 1997.

            "Standards for Determining Sexual Harassment Claims," Presentation to the
     Philadelphia/New Jersey chapter of the National Academy of Arbitrators, November 1997.

             "Academic Freedom and Harassment in Academe: Is there a Bright Line?" Presentation
     at the annual conference of the National Association of College and University Attorneys,
     Seattle, WA, June 1997.

            "Implications of the ADA and the FMLA for College Faculty." Presented at the Silver
     Anniversary Conference of the National Center for the Study of Collective Bargaining in Higher
     Education and the Professions, New York, April 1997.

            "Emerging Legal Issues in Higher Education," Presentation at the annual Law and Higher
     Education Conference, Stetson University Law School, St. Petersburg, FL, February 1997.

            "Impact of Technology on Faculty Employment," Presentation at mid-winter Continuing
     Legal Education Conference, National Association of College and University Attorneys,
     Albuquerque, NM, March 1996.
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     Papers Presented at Scholarly Meetings (continued)

            "Looking at Academic Personnel Issues from Both Sides Now," Presentation at annual
     Law and Higher Education Conference, Stetson University Law School, St. Petersburg, FL,
     February 1996.

             "The Application of the Americans with Disabilities Act to Faculty Employment Issues,"
     Presentation at annual Law and Higher Education Conference, Stetson University Law School,
     St. Petersburg, FL, February 1996.

            "Supervisors' Individual Liability for Employment Decisions," Presentation at the Annual
     Conference of the National Association of College and University Attorneys, Toronto, June
     1995.

            "ADA: Accommodating Mental Disorders in the Workplace." Presentation at the Mid-
     Winter Continuing Legal Education Conference, National Association of College and University
     Attorneys, Savannah, March 3995.

           "Post Tenure Review: Legal and Policy Issues," Presentation at the annual Conference
     on Law and Higher Education, Stetson University School of Law, Clearwater, FL, February
     1995.

            "Recent Developments and Trends in Higher Education Law," Presentation at the
     Conference on Legal Issues in Higher Education, Burlington, VT, November 1994.

            "Faculty and Staff with Psychological Problems: When Does Accommodation Become
     Unreasonable?" Presentation at the Conference on Legal Issues in Higher Education,
     Burlington, VT, November 1994 (with Peter Ruger).

           "Legal Pitfalls of Downsizing," paper presented at the annual conference of the Academy
     of Management, Dallas, August 1994.

            "Special Problems in Discrimination Cases." Presentation to the AAA/IRRA
     Professional Responsibility and Labor Relations conference, Philadelphia, April 1994.

            "Legal and Ethical Constraints in Conducting Field-Based Disability Research."
     Presentation to the annual conference of the Society for Industrial and Organizational
     Psychology, Nashville, April 1994.




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      Papers Presented at Scholarly Meetings (continued)

            "Issues Regarding Compliance with the Employment Provisions of the Americans With
     Disabilities Act: A Legal Analysis of Rehabilitation Act Precedent and Necessary Action
     Steps." Presentation to the Annual Conference on Law and Higher Education, Clearwater, FL,
     February 1994.

            "The Legislative Approach Toward Improving Access to Employment for Persons with
     Disabilities." Presentation to the Conference of the Disability Research Consortium, New
     Brunswick, NJ, November 1993.

            "Sexual Harassment of College Students: Free Speech or Free-for-All?" Presentation to
     the Annual Conference of the National Organization on Legal Problems in Education,
     Philadelphia, November 1993.

            "Reasonable Accommodation in the Workplace: Employer Responses to Disability."
     Presentation at the Academy of Management, Human Resources Division, Atlanta GA, August
     1993 (with K. Newman).

            "Recent Civil Rights Legislation and Human Resource Management." Presentation to the
     Doctoral Consortium, Human Resources Division, Academy of Management, August 1993.

           "The Americans With Disabilities Act: What Impacts?" Presentation at the National
     Symposium on Workers' Compensation, New Brunswick, NJ, July 1993.

            "Bullet-Proofing the Workplace: Minimizing Employment Liability Through Operations
     Audits and Training." Presentation to the annual conference of the National Association of
     College and University Attorneys, San Francisco, June 1993.

            "Violence in Campus Residence Halls and University Liability: What is the University's
     Duty?" Presentation to the Stetson University Conference on Law and Higher Education, St.
     Petersburg, FL, February 1993.

            "Individual vs. Collective Interests: Does the Duty to Accommodate Supersede
     Contractual Rights?" Paper presented at the annual conference of the Industrial Relations
     Research Association, Anaheim, CA, January 1993.

            "Peer Review and the Union: Hero or Hostage?" Paper presented at the annual
     conference of the National Center for the Study of Collective Bargaining in Higher Education
     and the Professions, New York, April 1992.



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     Papers Presented at Scholarly Meetings (continued)

             "The Effect of European Community Labor Law on Human Resource Management."
     Paper presented at the Symposium on The European Community 1992: Cultural Perspectives in
     International Business Management. New Brunswick, NJ, April 1992.

           "Peer Review in the Sunshine: Implications of EEOC v, University of Pennsylvania,"
     Annual Conference on Law and Higher Education, Clearwater, FL, February 10, 1992.

            "The European Community's Social Dimension: A Preliminary Study of its Implications
     for U.S. Multinationals." Presented at the University of Pennsylvania-Rutgers University
     Colloquium on the European Integration of 1992 and its Implications for the U.S., Philadelphia,
     November 1990.

            "The Implications of EEOC v. University of Pennsylvania for Faculty Personnel
     Decisions." Presentation to the Council of Colleges of Arts & Sciences, New Orleans,
     November 1990.

            "Tenure and Academic Freedom: Implications of EEOC v. University of Pennsylvania."
     Paper presented at the annual meeting of the Association for the Study of Higher Education,
     Portland, November 1990.

            "Keeping Academics Out of Court." Paper presented at the annual conference of the
     National Center for the Study of Collective Bargaining in Higher Education and the Professions,
     New York, April 1990.

            "Something Akin to a Property Right: Protections for Employee Job Security." Paper
     presented at the national meeting of the Council on Employee Responsibilities and Rights,
     Orlando, FL, October 1989.

            "Regulating Union Corruption: An Examination of the New Jersey Casino Experience."
     Paper presented at the seminar series of the Collective Bargaining Group, School of Business,
     Columbia University, New York, NY, April 1988 (with J. Chelius).

             "Legislating Against Corruption: Implications for Labor Relations." Paper presented at
     the Fourth Annual All Rutgers Business Faculty Conference, New Brunswick, NJ, April 1988
     (with J. Chelius).

            "Legal and Practical Aspects of Evaluating Faculty." Presentation at the midwinter
     meeting of the National Association of College and University Attorneys, San Antonio, TX,
     March 1988.


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      Papers Presented at Scholarly Meetings (continued)

            "Grievance Systems: Boon or Bane for Shared Governance?" Paper presented at the
     Symposium on Shared Governance in the Modern University, Temple University, Philadelphia,
     PA, February 1988.

             "Evaluating an Employee Participation Program: An Organizational Design Approach."
      Paper presented at the annual meeting of the Industrial Relations Research Association, Chicago,
      IL, December 1987.

            "Qualifications for Tenure: The Legal Definitions." Paper presented at the annual
     meeting of the Association for the Study of Higher Education, Baltimore, MD, November 1987.

            "Developing Lawful Personnel Practices in Academe." Paper presented at the annual
     meeting of the American Political Science Association, Chicago, IL, September 1987. (with G.
     LaNoue).

            "An Analysis of Emerging Issues in Academic Discrimination Litigation." Paper
     presented at the annual conference of the National Association of College and University
     Attorneys, Albuquerque, NM, June 1987.

           "Legal Inconsistencies in Employee Participation and Bargaining Rights: Implications
     for Human Resources Management." Paper presented to the annual meeting of the Academy of
     Management, Chicago, August 1986.

            "Recent Developments in the Law of Equal Employment Opportunity and Affirmative
     Action." Presentation to the annual meeting of the National Association of College and
     University Attorneys, Baltimore, MD, June 1986.

            "Implications of for Academic Renewal." Presentation to the biennial conference of the
     Danforth Foundation Involvement in Learning, Memphis, TN, April 1986.

             "Campus Realities: Is Collective Bargaining Equipped to Deal with Them?"
     Presentation to the Fourteenth Annual Conference of the National Center for the Study of
     Collective Bargaining in Higher Education and the Professions, New York, April 1986.

            "Trends in Faculty Collective Bargaining." Presentation to the annual conference of the
     Association for the Study of Higher Education, San Antonio, TX, February 1986.

            "Ad Hoc Policy Advisory Commissions: The Case of the Study Group on the Conditions
     of Excellence in Higher Education." Presentation to the annual conference of the Association for
     the Study of Higher Education, San Antonio, TX, February 1986.

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     Papers Presented at Scholarly Meetings (continued)

            "A New Generation of Tenure Problems: Legal Issues and Institutional Responses."
     Paper presented to the annual meeting of the National Organization on Legal Problems of
     Education, Chicago, November 1985.

            "Emerging Human Resources Issues in Higher Education: Legal and Professional
     Implications." Presentation to conference: "The Way Up III: Management of Human Resources
     in Higher Education," Des Moines, IA, November 1985.

           "Comparable Worth: Its Application in Higher Education." Presentation to conference:
     "The Way Up III: Management of Human Resources in Higher Education," Des Moines, IA,
     November 1985.

           "Strengthening Organizational Accountability in Professional Bureaucracies: Responses
     to Employment Discrimination Litigation." Paper presented to the annual meeting of the
     Academy of Management, San Diego, CA, August, 1985.

              "A Preliminary Report on a Study of the Impact of Faculty Discrimination Litigation on
     Institutions of Higher Education." Paper presented at the annual conference of the National
     Association of College and University Attorneys, Vancouver, B.C., June 25, 1985.

           "The Collective Bargaining Status of Professional Employees: Applications of
     Management Theory." Paper presented to the Rutgers All-Management Faculty Conference,
     Newark, NJ, April 1985. (with J. Begin)

            "The Consequences of Litigation for Faculty and their Colleges: Report of a National
     Study." Symposium presentation at the annual meeting of the Association for the Study of
     Higher Education, Chicago, IL, March 16, 1985 (with G. LaNoue).

            "Comparable Worth and Sex Discrimination in Academe." Symposium presentation at
     the annual meeting of the Association for the Study of Higher Education, Chicago, IL, March 15,
     1985.

            "Academic Freedom and Accountability: A Discussion of the University's Discretion to
     Set Standards." Presentation to the Sixth Annual Conference on Law and Higher Education,
     Stetson University College of Law, St. Petersburg, FL, January 28, 1985.

            "Establishing and Implementing University Procedures for the Investigation and
     Sanctioning of Scientific Misconduct." Presentation to the Sixth Annual Conference on Law and
     Higher Education. Stetson University College of Law, St. Petersburg, FL, January 29, 1985
     (with S. Olswang).

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     Papers Presented at Scholarly Meetings (continued)

            "Impacts of the Litigation Process: A New Analytical Perspective." Presentation to the
     annual conference of the American Political Science Association, Washington, D.C., August,
     1984.

            "Troublesome Tenure." Presentation at the annual conference of the National
     Association of College and University Attorneys, Cincinnati, Ohio, June, 1984.

             "Procedures for Evaluating Faculty for Promotion and Tenure: Lessons From
     Litigation." Annual conference of the American Educational Research Association, New
     Orleans, LA, April, 1984.

             "What the Courts Require in Promotion/Tenure Disputes." Symposium paper presented
     at the annual conference of the American Educational Research Association, New Orleans, LA,
     April, 1984.

            "Raising the Hurdles: Judicial Response to Heightened Standards for Promotion and
     Tenure." Paper presented at the annual conference of the Association for the Study of Higher
     Education, Chicago, IL, March, 1984.

            "Institutional and Faculty Academic Freedoms: Interactions and Conflicts." Symposium
     presentation at the annual conference of the Association for the Study of Higher Education,
     Chicago, IL, March, 1984. (with S. Olswang)

            "The New Generation of Civil Rights Litigation: Applications to Higher Education."
     Presentation at the annual conference of the Association for the Study of Higher Education,
     Chicago, IL, March 1984.

             "The Impact of Litigation on Faculty Peer Review: Confidentiality and Disclosure
     Issues." Presentation at the Fifth Annual Conference on Law and Higher Education, Stetson
     University College of Law, St. Petersburg, FL, January, 1984,

            "Judicial Involvement in Higher Education Decision-Making: Impact on Peer Review,"
     Paper presented at the annual conference of the Association for the Study of Higher Education,
     Washington, D.C., March, 1983.

            "Overcoming the Limitations of Traditional Bargaining Models for College Faculty."
     Symposium presentation at the annual conference of the Association for the Study of Higher
     Education, Washington, D.C., March, 1983.




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     Papers Presented at Scholarly Meetings (continued)

            "Attitudes of Unionized Faculty toward the Quality of Faculty Life." Presentation at the
     annual conference of the American Educational Research Association, New York, N.Y., March,
     1982 (with T. Settle and J. Begin)

             "Balancing Confidentiality and Disclosure in Faculty Peer Review: Impact of Title VII
     Litigation." Paper presented at the annual conference of the Association for the Study of Higher
     Education, Washington, D.C., March, 1982.

             "Contractually-Protected Senates at Four-Year Colleges." Paper presented to the annual
     conference of the National Center for the Study of Collective Bargaining in Higher Education
     and the Professions, New York, N.Y., April, 1981.

            "Contractually-Protected Dual Track Governance at Unionized Colleges." Paper
     presented to the annual conference of the Association for the Study of Higher Education,
     Washington, D.C., March, 1981.

           "A Portrait of Today's College Student." Presentation at the annual conference of the
     American Association of Higher Education, Washington, D.C., March, 1981.

             "College Faculty as 'Managerial Employees': Implications of the Yeshiva University
     Decision for Faculty Unionization." Paper presented at the annual conference of the Association
     for the Study of Higher Education, Washington, D.C., April, 1979.

            "The Effect of Faculty Collective Bargaining on Academic Governance at Four-Year
     Colleges and Universities." Paper presented at the annual conference of the American
     Educational Research Association, 1978.




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     Presentations at Professional Meetings

             "Legal Issues for Department Chairs," webinar presented to department chairs, sponsored
      by Jossey-Bass Publishers, April 2012, April 2013, February 2014.

            "Reductions in Force and Employee Dismissals," Online course delivered on behalf of
     National Association of College & University Attorneys, spring 2012.

            "Update on FMLA and New Jersey Paid Family Leave Act," Webinar presented to
     corporate executives and in-house counsel, September 25, 2008.

           "Am I Liable? Individual Liability for Faculty and Administrators," Webinar presented
     to members of five higher education student affairs professional associations, November 13,
     2007.

           "Yes You Can; Avoiding Litigation over Faculty Employment Issues." Keynote
     Address at the Meeting of Chief Academic Officers, National Association of State Universities,
     Land Grant Universities and Colleges, Hilton Head, S.C., July 23,2007.

            "Principles and Practice of Effective Faculty Discipline" (with Steven Olswang). Virtual
     Seminar presented to 1,000 participants, National Association of College and University
     Attorneys, January 25, 2007.

           "The Practical Implications of the New Jersey Domestic Partnership Act for Employers,"
     Symposium sponsored by Schenck, Price, Smith & King, LLP and SMLR Alumni and Friends
     Association, Florham Park, NJ, June 9, 2004.

           "Managing People and Resources." Presentation to the Associate Deans Conference,
     American Bar Association, Denver, CO, June 4, 2004.

            "Increasing the Representation of Women Full Professors." Presentation to the
     Conference on Increasing the Numbers of Women in Science, sponsored by the Ministry for
     Equality, Parliament Building, Copenhagen, Denmark, May 27, 2004,

            "Is it Sexual Harassment or Free Speech? Our Responsibilities in the Workplace."
     Presentation to the New Jersey Library Association Intellectual Freedom Subcommittee, East
     Brunswick, NJ, March 2004.

             "New Jersey Disability Law, the ADA, and Your Workplace." Presentation at the
     Disability Workshop for Senior HR Executives, Center for Human Resource Strategy, Rutgers
     University, New Brunswick, NJ, March 2004.


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     Presentations at Professional Meetings (continued)

            "Higher Education and the Law: Student Affairs," Presentation at the Conference on
     Legal Issues in Higher Education, University of Vermont, Burlington, VT, October 2003.

            "Higher Education and the Law: Academic Affairs and Faculty Issues." Presentation at
     the Conference on Legal Issues in Higher Education, University of Vermont, Burlington, VT,
     October 2003.

           "Women in the Building Trades: Progress and Barriers." Presentation to the Governor's
     Conference on Women, East Brunswick, NJ, October 2002.

           "HR and Leadership." Presentation to the Middlesex County Chamber of Commerce,
     Jamesburg, NJ, June 2002.

            "Sexual Harassment," Presentation to the Orientation Program for New Superior Court
     Judges, Princeton, NJ, March 2002, and annually thereafter (with T, Dilts and I. Stark).

            "Women and Men Lawyers Working Together: How to Do it Better." Panel
     presentation sponsored by the NJ Supreme Court Committee on Women in the Courts, Rutgers
     Law School, Camden, NJ, March 2002.

            "Dysfunctional Workplaces: Dealing with Poisoned Working Relationships,"
     Presentation at the Conference on Legal Issues in Higher Education, University of Vermont,
     Burlington, VT, October 2001.

            "Before You Get Sued: Building Positive Partnerships Between Administrators and
     Attorneys," Presentation at the Conference on Legal Issues in Higher Education, University of
     Vermont, Burlington, VT, October 2001.

           "Implications of NJ's Whistieblower Law for HR Professionals," Presentation to the
     Middlesex County Chamber of Commerce, New Brunswick, NJ, October, 2001.

            "Developing a Preventive Law System." Presentation to the conference on Legal Issues
     in Higher Education, University of Vermont, Burlington, VT, October 1998 (with P. Ruger).

           "Legal Protections for Women in the Workplace." Presentation at the Governor's
     Conference on Women: An Economic Perspective, Rutherford, NJ, September 1997.

           "Responding to Sexual Harassment in the Workplace." Presentation to the Conference
     on Managing People, American Laboratory Managers Association, Morristown, NJ, October
     1996.

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     Presentations at Professional Meetings (continued)

          "The Legal Environment." Presentation to the Conference on Disability and Work: How
     Human Resource Officers Can Contribute to the Bottom Line. Princeton, NJ, June 1994.

           "How the ADA Affects the Bottom Line." Presentation to the Central New Jersey
     Chapter of the Society for Human Resource Management, Somerset, NJ, March 1993.

            "The Implications of the Americans With Disabilities Act for Opinion Research."
     Presentation to the American Association for Public Opinion Research." Princeton University,
     February 1993.

            "The Clash Between the Duty to Accommodate and Contractual Seniority Provisions."
     Presentation to the New Brunswick chapter of the Industrial Relations Research Association,
     February 1993.

           "Faculty Participation in Employment Decisions: Making the Process Accountable."
     Annual meeting of the Michigan Education Association, Dearborn, February 1, 1992.

           "Faculty Rights and Responsibilities During Tenure Review and Evaluation," Keynote
     Speaker, Conference of the Community College Association, San Francisco, November 16,
     1991.

            "New Definitions of Handicapped Workers." Presentation to the Delaware Valley
     Personnel Association, Princeton, NJ, June 1990.

            "The Family Leave Act" Presentation to a workshop on the New Jersey Family Leave
     Act, Rutgers University, May 1990.

            "At-Will Employment and Wrongful Discharge." Presentation to the Princeton Personnel
     Association, Princeton, NJ, May 1990.

            "Recent Supreme Court Decisions on Equal Employment Opportunity." Presentation to
     the Conference on Regulating the Employment Environment, Piscataway, NJ, January 1990.

           "AIDS in the Workplace: Legal and Professional Issues." Presentation to the New Jersey
     Department of Personnel conference, Princeton, NJ, November 1988.

            "Current Legal Developments in Employee Rights: Implications for Human Service
     Organizations." Presentation to United Way of Central New Jersey, Milltown, NJ, June 1988.

            "Applications of Equal Employment Opportunity Law to Public Employment."
     Presentation to the New Jersey Personnel Academy, March 1988.
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      Presentations at Professional Meetings (continued)

            "Contagious Disease and Workplace Concerns: Employer Responsibilities and
      Employee Rights." Presentation to the International Association of Personnel Women, West
      Orange, NJ, March 1988.

             "At Will Employment in Higher Education: Implications for Labor Relations."
      Presentation to the New Jersey Association of Community College Negotiators, Princeton, NJ,
      January 1988.

            "Sexual Harassment: Legal and Practical Considerations for Human Resource
      Managers." Presentation to the International Association of Personnel Women, Woodbridge, NJ,
      December 1987.

             "At-Will Employment in New Jersey: Developments since Woollev." Presentation to
      the Conference on At-Will Employment, Rutgers University, November 1987,

             "New Developments in Employee Rights and Social Service Agencies." Presentation to
      the Delaware Valley Chapter of the United Way, Princeton, NJ, May 1987.

             "A Framework for Evaluating an Employee Participation Program." Presentation to the
      Leadership Conference on Labor-Management Cooperation, Chauncy Center, Princeton, NJ,
      April 1987.

            "New Developments in Employment Law," presentation to the New Jersey Savings
      League (with F. McDermott, Esq.), Woodbridge, NJ, April, 1987.

             "Equal Employment Opportunity and Lawful Recruiting." Presentation to the N.J.
      Association of Hospital Recruiters, Center for Health Affairs, Princeton, N.J., April 1987.

              "The Development of the Employment-at-Will Doctrine in New
      Jersey." Presentation to the Employment-at-Will Seminar sponsored by the Labor and
      Employment Law Section of the New Jersey Bar Association, Jamesburg, NJ, April 1986.

            "Implications of Woollev v. Hoffmann La-Roche for College
      Administrators," presentation to the Rutgers University Administrative Assembly, March 1986.

            "Affirmative Action in the Schools," workshop presentation (with C. Fay) to East
      Windsor (NJ) Regional School District, May 1986.

             "Implications of Comparable Worth for Private Colleges and Universities." Presentation
     to the American Council on Education National Identification Project, Princeton University,
     March 1986.
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      Presentations at Professional Meetings (continued)

             "Sex Discrimination Litigation in Higher Education: Implications for Plaintiffs and
      Defendants." Presentation to the American Council on Education National Identification Project,
      Princeton University, January 1986.

           "Preventive Measures: Litigation and Academic Administrators." Presentation to the
     American Council on Education National Identification Project, Rutgers University, January
     1986.

            "Campus Responses to Involvement in Learning. Presentation to the Western New York
     Association of Higher Education Administrators, Buffalo, NY, November 1985.

            "The Retirement Equity Act: Its Significance for Older Individuals." Presentation to the
     Older Women's League, East Brunswick, NJ, November 1985.

            "Comparable Worth." Panelist for live television show on the New Jersey Healthcare
     Information Network, Princeton, NJ, November 1985.

            "Two Courts Look at Equity in Employee Relations: Comparable Worth and Job
     Security." Presentation to the North Jersey Pharmaceutical and Fragrance Personnel Group,
     Somerville, NJ, September 1985.

           "Involvement in Learning: Implications for College Faculty." Presentation to the
     American Federation of Teachers QUest Conference, Washington, D.C., July 1985.

            "The Consequences of Academic Employment Litigation for College Faculty." Paper
     presented at the annual meeting of the American Association of University Professors,
     Washington, D.C., June 1985.

            "Faculty Involvement in Enhancing Student Learning." Keynote address to the Annual
     Conference of the American Association of University Professors, Washington, D.C., June 1985.

            "A Closer Look at the Final Report of the NIE Study Group on the Conditions of
     Excellence in American Higher Education." Presentation to the Statewide Excellence Week
     meeting, Illinois State University, Normal, IL, April 3, 1985.

             "The Implications of Involvement in Learning for Engineering Education." Presentation
     to the Engineering Deans' Institute, Orlando, FL, March 1985.

             "Involvement in Learning: Improving the Way Higher Education Works." Presentation
     to the National Education Association's Higher Education Conference, Boston, MA, March
     1985.
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      Presentations at Professional Meetings (continued)

           "Comparable Worth and Sex Discrimination: Issues and Trends." Presentation to the
      AT&T Sounding Board, Bedminster, NJ, February 1985.

            "Lawful Procedures for Teacher Discipline." Workshop presentation to Pemberton
      Township School District, December 1984,

             "The Role of State-Level Policy Makers in Improving Undergraduate Education."
      Presentation to the Connecticut Educational Policy Seminar, Trinity College, Hartford, CT,
      November 1984.

             "Indicators of the Quality of Student Learning." Presentation to the Advisory Panel on
      Postsecondary Education to the National Center for Educational Statistics, U.S. Department of
      Education. Washington, D.C., November 1984.

             "Searches and Seizures: Student Rights and Administrative Responsibilities."
      Presentation at the annual Fall Law Conference of the New Jersey School Development Council,
      North Brunswick, N.J., November 21, 3983.

            "Due Process in Employment Termination." Presentation to the New Jersey Association
      of Community College Negotiators, Somerville, N.J., March, 1983.

            "The Impact of Collective Bargaining on Traditional Governance in Higher Education."
     Presentation at the annual higher education conference of the National Education Association,
     Washington, D.C., March, 1983.

           "The Church, the State, and the Public Schools: Current Legal and Legislative
     Developments." Presentation at the Annual Fall Law Conference of the New Jersey School
     Development Council, North Brunswick, N.J., November, 1982.

            "The Impact of the Courts on Academe." Presentation to the Maryland Association of
     Higher Education, Baltimore, February, 1982.

            "Tort Liability of Teachers." Workshop presentation at Union County Vocational
     School, October 1982.

             "The Impact of the Yeshiva University Decision on Campus Governance." Presentation
     at the AAUP Collective Bargaining Congress, Washington, D.C., December, 1980,




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     National Commission Service

            Member of the Social Science Research Council's Transitions to College study group,
     2003-2005. Composed of fifteen nationally-recognized scholars selected for their research on K-
     12 and higher education. Developed the report, "Questions that Matter: Setting the Research
     Agenda on Postsecondary Access and Success."

            Member of National Institute of Education Study Group on the Conditions of Excellence
     in Higher Education, September 1983-November 1984. Composed of seven
     nationally-recognized faculty selected for their research on issues in higher education. Charged
     with developing a report on the improvement of higher education nationally.


     Book Reviews

            Review of Tenure. Discrimination, and the Courts by Terry Leap (ILR Press, 1993).
     Journal of Higher Education, 66 (1995), pp. 115-117.

            B.A. Lee. "Commentary: The Limits of Outcomes Analysis: A Comment on 'Sex
     Discrimination in Higher Education Employment: An Empirical Analysis of the Case Law'."
     Journal of Law and Education, 19 (4) (1990), 521-526.

            Review of U.S. Labor Law and the Future of Labor-Management Cooperation (U.S.
     Dept. of Labor). Industrial and Labor Relations Review, 43 (1990), 651 -653.

            Review of Gender Justice, by David Kirp, Mark Yudof, and Marlene S. Franks
     (University of Chicago Press, 1986). Journal of Law and Education, 16 (1987), pp. 379-381.

            Review of The Law of Public Education by E. Reutter (Foundation Press, 1985).
     Educational Administration Quarterly, 22 (1986), pp. 120-123.

           Review of The Scope of Faculty Collective Bargaining: An Analysis of Faculty Union
     Agreements at Four-Year Institutions of Higher Education, by R. Johnstone. Journal of Higher
     Education, 54 (1983), pp, 230-233.




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     Other Publications and Writings

         B.A. Lee. "Liability for Sexual Assault by College Athletes Under Title IX."
     NACUANote, National Association of College and University Attorneys, November 2008.

           B. A. Lee, S. Frenkil, S. McLelland, and D. Mathieu Who are Your Faculty and Staff?
     Background Checks in Academe. National Association of College & University Attorneys,
     2008.

            B. A. Lee and P. H. Ruger. Accommodation of Faculty and Staff with Psychiatric
     Disabilities, revised edition. Washington, DC: National Association of College and University
     Attorneys, 2003.

             B. A. Lee, John Sauve and Susan Fuller. "Integrating College Students with Psychiatric
     Disorders into Higher Education." Grant report to the Disability Research Consortium, funded
     by the New Jersey Developmental Disabilities Council, January 1997.

            B. A. Lee and K. Newman, "Hidden Disabilities in the Workplace: Accommodation and
     Performance Issues." Research report to the New Jersey Council on Developmental Disabilities,
     December 1994 (published by the Council).

             B. A. Lee and S. A. Hahn, "Preliminary Study of Historic and Current Practices Relating
     to State and Local Contracting with Businesses Owned by Persons with Disabilities in the State
     of New Jersey." Research report to the New Jersey Council on Developmental Disabilities,
     1994.

            B. A. Lee. "Reasonable Accommodation under the Americans With Disabilities Act: A
     Handbook for Employers." Research Report to the New Jersey Council on Developmental
     Disabilities, November 1992. (Published by the Council).

            B. A. Lee and K. Newman. "Reasonable Accommodation of Persons with Disabilities in
     the New Jersey Workplace." Research Report to the New Jersey Council on Developmental
     Disabilities, November 1992.

            B.A.Lee. Peer Review Confidentiality: Is it Still Possible? Washington,D.C.: National
     Association of College and University Attorneys, 1990.

            B. A. Lee, The Ethicon/ACTWU Work Involvement Process: A Case Study. Report to
     the U.S. Department of Labor under Contract J-9-P-5-0075. Washington, D.C.: U. S.
     Government Printing Office, 1987.



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      Other Publications and Writings (continued)

               G. R. LaNoue and B. A. Lee. Discrimination Litigation in Academe: Effects on
      Institutions and Individuals. (Washington, D.C.: American Association of Higher Education,
      1987). 14 pp.

            G. R, LaNoue and B. A. Lee, The Consequences of Academic Discrimination Litigation.
     Report to the Carnegie Corporation of New York describing findings of grant-funded research,
     1985.

            B. A. Lee. "The Effect of Faculty Collective Bargaining on Academic Governance at
     Four-Year Colleges and Universities," Unpublished Ph.D. Dissertation (Columbus, Ohio: The
     Ohio State University, 1977).


     Grants Received

             N.J. State Employment and Training Commission. $177,000 for data collection and
     analysis for the Gender Parity Council. July 2001-June 2002. Principal Investigator,

             N.J. State Employment and Training Commission. $160,000 for data collection and
     analysis for the Gender Parity Council. April 2000 - June 2001. Principal Investigator.

            N.J. Developmental Disabilities Council, through the Bureau of Economic Research,
     Rutgers University, $46,500 for "Integrating Students with Psychiatric Disabilities into Higher
     Education; Policy and Practice Issues." July 1995--December 1996. Principal Investigator.

            N.J. Developmental Disabilities Council, through the Bureau of Economic Research,
     Rutgers University, $41,843 for "Hidden Disabilities: Accommodation and Performance Issues
     in the Workplace." January-December 1994. Principal investigator.

            N.J, Developmental Disabilities Council, $10,592.00 for "New Jersey State and Local
     Contracting with Businesses Owned and Operated by People with Disabilities: A Preliminary
     Study of Historic and Current Practices." October 1993 - February 1994, Principal investigator.

            N.J. Developmental Disabilities Council, through the Bureau of Economic Research
     Rutgers University, $49,993 for "Employment of Individuals with Disabilities in New Jersey:
     Barriers and Success Stories." January - December 1993. Principal investigator.

            N.J. Developmental Disabilities Council, through the Bureau of Economic Research,
     Rutgers University, $14,249 for "Reasonable Accommodation of Disabled Persons in the
     Workplace," March-November 1992. Principal investigator.

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      Grants Received (continued)

              American Scandinavian Foundation, $2,000 grant for European Community project,
      1991.

             Co-principal investigator for research on exemplary practices in faculty employment
     relations, Lilley Endowment, 1988, $7,500 (with G. LaNoue).

            Principal Investigator for research on an innovative joint labor-management consultation
     program, under contract with Bureau of Labor-Management Relations and Cooperative
     Programs, U.S. Department of Labor, Contract No. J-9-P-5-0075, October 1985-
     September 1986, $21,342.00.

              Co-Principal Investigator and project director for $74,800 grant from the Carnegie
     Corporation of New York to support research on the consequences of academic discrimination
     litigation. Grant awarded for two year period (January 1, 1983- December 31, 1984).


     Participation in Scholarly Meetings

           Discussant, "The Developing Practice and Teaching of IR and HR in Universities,"
     Annual conference of the Industrial Relations Research Association, San Francisco, January
     1996.

          Reactor, "Symposium on Disability and Work," national meeting of the Academy of
     Management, Dallas, August 1994.

           Reactor, "The Physically Unattractive Worker—Legal and Policy Issues." Council on
     Employee Responsibilities and Rights, Orlando, FL, October 1989.

            Chair and reactor, "Recent Developments in Civil Rights Law: Implications for Higher
     Education Institutions." Association for the Study of Higher Education, Atlanta, GA, November
     1989.

            Chair, "Background of U.S. Immigration Policy Reform," Colloquium on U.S.
     Immigration Policy Reform: A Preliminary Assessment. Rutgers University, New Brunswick,
     NJ, October 1988.

            Chair, "Politics and Policy Issues," Annual Meeting of the Association for the Study of
     Higher Education, St. Louis, MO, November 1988.

            Discussant, "The Economics of Comparable Worth: Theoretical Considerations."
     Colloquium on Comparable Worth, Rutgers University, October 1987.
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     Participation in Scholarly Meetings (continued)

            Reactor to "Challenges to Collective Bargaining: The Decisions of the Reagan NLRB"
     by D. Sockell and J. Delany. Annual meeting of the Western Economic Association, San
     Francisco, July 1986.

            Discussant, "Legal Issues Related to High School Exit Tests," presentation at the
     conference "Critical Issues in Urban Education," Essex County College, Newark, NJ, October
     1983.

            Discussant, "Sources of Fiscal Distress in Postsecondary Education and Tools for Fiscal
     Analysis." Annual conference of the American Educational Research Association, Montreal,
     1983.

            Chair, "The Shifting Administrative Scene." Paper session at the American Educational
     Research Association, Boston, March 1982.


     Editorial Board and Reviewing Activities

            Chair, Editorial Board, Journal of College and University Law, 2014-15, 1995 - 1996;
     co-chair 1994-95, 1996-1998, and vice chair, 2013-14, and member of editorial board, 1985-
     2000, 2011-

            Member, Editorial Board, Journal of Higher Education, 1996-1999.

            Co-editor, The College Administrator and the Courts, 1993-1997.

            Member, Editorial Board, Human Resource Management Review, 1995-2000.

            Member, Editorial Board, Review of Higher Education, 1980-1987.

           Member, Editorial Advisory Committee, Education Law Reporter, 1994-1996; Member,
     Authors Committee, 1984-1994.

             Associate Editor, Higher Education: Handbook of Theory and Research, (Agathon
     Press) 1983-86.

           Member, Advisory Board, ASHE-ERIC Higher Education Research Report Series,
     1982-1984.



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     Editorial Board and Reviewing Activities (continued)

             Book manuscript reviewer for Jossey-Bass Publishers (books on affirmative action, legal
     aspects of technology), Johns Hopkins University Press (book on college mergers, law and
     education book, women's studies book), Random House (law text), Teachers College Press,
     Columbia University (collective bargaining text), and Allyn and Bacon (law text), Enslow
     Publishers (affirmative action book).

            Manuscript reviewer for Journal of Applied Psychology, Academy of Management
     Journal, Academy of Management Review, Industrial Relations, Industrial and Labor Relations
     Review, Human Resource Management Journal, Human Resource Management Review, Human
     Resource Planning, Review of Higher Education, Journal of Higher Education, Journal of
     College and University Law, Education Law Reporter, Business & Professional Ethics Journal.

           Proposal reviewer, Human Resource Management Division, Academy of Management,
     1989-2009.

            Proposal reviewer, Association for the Study of Higher Education annual conference,
     1982 -1999.

            Manuscript reviewer and critic, ASHE/ERIC Research Reports Series, 1981, 1992, 1999.


            Proposal reviewer, Division J, American Educational Research Association annual
     conference, 1981-88,


     Professional Association Service

            Chair, Higher Education Committee, New Jersey State Bar Association, 2006-2008.

            Member, Executive Committee, Section on Labor and Employment, New Jersey State
     Bar Association, 1987-present.

            Member, Continuing Legal Education Committee, National Association of College and
     University Attorneys, 2005-2008; vice-chair, 2007-2008.

           Member, Program Committee, National Association of College & University Attorneys,
     2008-2011.

           Member, Executive Committee (elected), Human Resource Division, Academy of
     Management, 1992-1995.

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     Professional Association Service (continued)

           Chair, Scholarly Achievement Award Committee, Human Resource Division, Academy
     of Management, 1994 and committee member, 1993.

           Member, Board of Directors, National Association of College and University Attorneys,
     1990-1993.

            Member, Honors and Awards Committee, National Association of College and
     University Attorneys, 1998, 1999, 2004.

            Chair, Board Operations Committee, National Association of College and University
     Attorneys, 1991-1994.

            Chair, Publications Committee, National Association of College and University
     Attorneys, 1988-1991.

            Legal Counsel, Association for the Study of Higher Education, 1983-1989.

            Co-Chair, Affirmative Action and Equal Employment Section, National Association of
     College and University Attorneys, 1985-1989.

           Member, Finance Committee, National Association of College and University Attorneys,
     1989-1991.

            Chair, Search Committee for Editor, Review of Higher Education. 1985.

            Member, Eagleton Institute Advisory Board, Rutgers University, 1988-90.

            Member, Educational Policy Advisory Committee, New Jersey Department of Higher
     Education, 1987-89.

            Member, Committee T (College and University Governance), American Association of
     University Professors, 1989-1992.

            Member, Dissertation Award Committee, Association for the Study of Higher Education,
     1987, 1988.

            Member, Executive Council, Division J, American Educational Research Association
     (Elected at large), 1984-86.

            Member, Publications Committee, Division J, American Educational Research
     Association, 1984-86.
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     Professional Association Service (continued)

           Columnist for Higher Education Law and Finance, Postsecondarv Education Newsletter,
     1982-1984.

            Vice-Chair, Program Committee, Division J, American Educational Research
     Association, 1982-83.

            Member, Nominating Committee, Division J, American Educational Research
     Association, 1983.

            Moderator, panels on Setting High Academic Expectations and Institutional Assessment,
     NIE Regional Conference on Implementing Involvement in Learning. Boston, MA, February
     21, 1985.

            Moderator, "Faculty: How Much Can We Ask?" Panel presentation at the NIE
     Conference on Quality in American Higher Education, New Orleans, LA, April 19, 1985.




     External Reviewing Activities

             External Auditor, Graduate Record Examination Program, 1984; Critical Care Nursing
     Certification Program, 1985; American Institute of Certified Planning Program, 1986;
     Educational Testing Service, Princeton, NJ.

           External Reviewer, Higher Education Program, College of Education, University of
     Maryland, College Park, MD, April 1987.

            External Reviewer for Office of Doctoral Programs, New York State Department of
     Education, 1983.

             Expert witness in employment lawsuits: sex, national origin and race discrimination in
     promotion or tenure denials; contract claims in tenure denials; discharge for unprofessional
     behavior; discipline and retaliation claims; sexual harassment; de facto tenure claim, and
     discipline for scientific misconduct.

           Member, New Jersey Supreme Court Committee on Outside Activities of Judiciary Staff,
     1996-99.


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      Other Professional Activities

             Advisor to the Administrative Office of the Courts, New Jersey Judiciary (trained new
      judges annually on harassment and discrimination issues), 1995-2011.

            Member, International Advisory Board of the Center for Excellence in Higher Education
      Law and Policy, Stetson University College of Law, 2005-2006,

              Advisor to Joint Administration and Faculty Evaluation Committee, Community College
      of Philadelphia, 1986-7.

             Consultant to the Dean, College of Education, Illinois State University, Normal, IL, 1985.

             Consultant to the President, Bradford College (MA), Fall 1983.

             Member, Transition Task Force, U.S. Department of Education, 1980.

             Member, College of Education Special Task Force on School Desegregation, Ohio State
      University, 1976-77.


     Membership in Professional Associations

             American Law Institute (elected)
             New Jersey Bar Association (Admitted 1983)
              Labor and Employment Law Section (Executive Committee)
              Higher Education Committee (chair 2006-2008)
             National Association of College and University Attorneys (Board of Directors 1990-93)
             Association for the Study of Higher Education


     Graduate Courses Taught

             Employment Law
             Global Regulation of Employment
             Higher Education Law

     Undergraduate Courses Taught

             What is Discrimination?



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     Training Experience (partial list)

     Rutgers University Center for Management Development
            One-day workshop on Equal Employment Opportunity for managers and
                    human resource professionals 2-3 times per year 1990-2013
            One-day workshop on Responding to Sexual Harassment for managers and
                    human resource professionals 2-3 times per year 1990-2000
            Other law-related workshops as assigned

     New Jersey Educational Association
           Workshops for professional union staff on equal employment opportunity,
                  sexual harassment, and disability discrimination - periodic over the last decade


     Workshops on lawful employment policies and practices, including equal employment
     opportunity, to the following organizations:

     College of Saint Elizabeth (NJ)
     Raritan Valley Community College (NJ)
     Passaic County Community College
     Mercer County Community College
     Delaware County Community College, Media, PA
     AT&T (multiple workshops, on-site graduate course in employment law)
     Prudential Insurance Co. (workshops and on-site graduate course in employment law)
     Bederson and Co., West Orange, NJ (workshops on sexual harassment)
     Priority Medical Care, Bridgewater, NJ
     Social Security Administration, Baltimore, MD
     Phillips Van Heusen, Bridgewater, NJ
     Budd Lamer Law Firm, Short Hills, NJ (workshop on sexual harassment)
     Dydacomp Corp., Totowa, NJ (workshop on sexual harassment)
     AFL-CIO, Washington, DC
     NJ Administrative Office of the Courts
             Training for new judges (annually mid-1990s-2011)
             Training for Office of Attorney Ethics




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     Community Service

           Board Member, Princeton Adult School, 1999-present.
                   Vice President, 2006-07
                   President, 2007-2010
           Facilitator, Personnel Selection Committee, Town of Princeton, NJ, 2012
           Treasurer, Princeton Youth Baseball Association (Little League), 1997-1999
           Fundraising Committee, Princeton High School Choir, 2002-2005
           Alumni interviewer, Georgetown University, 2005-2011




     July 2014




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